                                                                         Motion GRANTED.
               IN THE UNITED STATES DISTRICT COURT                       Hearing reset for
              FOR THE MIDDLE DISTRICT OF TENNESSEE                       11/1/12 at 1:30 p.m.
                        NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              ) No: 2:11-00002
             v.                               )
                                              ) JUDGE TRAUGER
                                              )
VANESSA MIMS                                  )

                         DEFENDANT MIMS’ MOTION
                     TO CONTINUE SENTENCING HEARING

       Defendant Vanessa Mims, respectfully requests that

this Honorable Court continue the Sentencing Hearing

that    is    currently         set     for    Monday,         July    9,     2012.

Moreover,         Ms.    Mims    respectfully            requests      that     the

Sentencing        Hearing       be    rescheduled         to    a     time    after

October 29, 2012.             In support of this Motion, Ms. Mims

states as follows:

1.     Ms. Mims is due to be sentenced on July 9, 2012.

2.     Ms. Mims’ physician has recently recommended to Ms.

Mims a specialized treatment program to help her to

safely overcome her use of Oxycodone.

3.     The reason for Ms. Mims requesting until nearly

November, 2012, for the new Sentencing Hearing date is



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